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EXHIBIT 2
 

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DECLARATION OF PROFESSOR MICHAEL TRIMBLE, M.D.

IN RELATION TO NEURONTIN CAUSING NEGATIVE MOOD AND
BEHAVIOURAL ALTERATIONS, INCLUDING SUICIDAL
BEHAVIOR, IN TREATED PATIENTS

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PROFESSOR metthan TRIMBLE MD, FRCP FPCPsych
PROFESSOR OF BEHAVIOURAL NEUROLOGY
INSTITUTE OF NEUROLOGY

LONDON

 
 

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Introduction

This report is prepared as an expert opinion in relationship to the capacity of the
drug gabapentin (Neurontin) to contribute to acts of completed suicide or suicidal
attempts in patients prescribed the medication. It is based on my extensive knowledge and
use of drugs of the class referred to as antiepileptic (AEDs) in patients with a variety of
neurological and psychiatric disorders. I have prescribed these drugs clinically for over 30
years, and have carried out research not only into their therapeutic effects but also their
side effects, and have published widely on these topics.

Before preparing this report I have relied upon versions of the Neurontin package
insert/label provided to prescribers of gabapentin. Further, I have relied upon many
Pfizer, Warner Lambert and Parke-Davis corporate internal documents not yet available to
the general scientific community, as well as depositions of testimony during the pendency
of the litigation. Within these documents are internal reports prepared by myself at the
request of Parke-Davis in 1995. At that time I stated, and reaffirm now, “the main adverse
effect of anticonvulsants is the link between anticonvulsant drugs and depression”
(Pfizer_PSUR_0002000 at 0002005; Pfizer_CPacella_0009404 at 0009409).

I cannot possibly list all of the scientific, medical literature and confidential
corporate documents that I have reviewed and which support my opinions. However, I
have published and read extensively in this area. In forming the following opinions, have ~
used the same scientific analysis and reasoning that I use in my professional work. This
report has specifically to do with the links between the psychotropic/antiepileptic agent
gabapentin and mood instability including suicidality. This report reflects the author’s

professional opinion, and is based on clinical experience of dealing with these drugs
 

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(AEDs) clinically and experimentally for some 30 years, and familiarity, as a Professor of
Behavioural Neurology with the relevant academic areas to address such questions,
namely neurology, psychiatry, biological psychiatry and neuropsychiatry, the latter being

a cross-over discipline between neurology and psychiatry.
 

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SUMMARY CURRICULUM VITAE

I am Professor Emeritus of Behavioral Neurology at the Institute of Neurology,
Queen Square, London, and Honorary Consultant Physician to the Department of
Psychological Medicine at the National Hospital for Neurology and Neurosurgery, Queen
Square, London. In addition to my academic work I have maintained a clinical practice
over many years having evaluated and treated many patients with mood and behavioral
disorders and actively prescribed anti-epileptic drugs to patients with epilepsy and with
mood disorders. A copy of my curriculum vitae is attached.

Interests: Neuropsychopharmacology with special reference to neuropsychiatric
disorders: epilepsy, its relationship to disturbances of behavior and its treatment, and the
effects of antiepileptic drugs and other treatments for epilepsy on the brain and behavior. I
have considerable clinical and research experience of the behavioral side-effects of
antiepileptic drugs. Other research and clinical interests include movement disorders and
their treatment, especially the development of psychiatric disorders in Parkinson’s disease
and Gilles de la Tourette Syndrome.

Other professional interests include: psychiatric disorders following accidents,
including head injuries; dementia and the clinical interface between pseudodementia and
dementia: and the spectrum of presentations in neurology and psychiatry of patients with
medically unexplained neurological symptoms. Many such patients turn out to have one
or other form of somatoform disorder.

Professional organizations and qualifications: Fellow of the Royal College of
Physicians (UK), Fellow of the Royal College of Psychiatrists (UK), and a Member of the

Association of British Neurologists. Fellow of the American Psychiatric Association and a

 
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past member of the American Neurological Association. Three Research degrees: MD (in
medicine), BSc (in neuroanatomy), and MPhil (in psychiatry).

I am a past council member of the British Association of Psychopharmacology, past
council member of the Collegium Internationale Neuro-Psychopharmacologium (CINP)
(1998 and 2001), I was Chairman of the British Neuropsychiatry Association (200 1-2004),
and am currently Vice President of the World Federation of Societies of Biological
Psychiatry. I have been awarded and entitled an Ambassador of Epilepsy of the
International League against Epilepsy since June 1993. I received a Life-time achievement
award from the International Neuropsychiatry Association in 2004.

Publications: include two editions of the text Biological Psychiatry (1988 and 1996
John Wiley & Sons, Chichester), a third edition has been commissioned and is in
preparation , and over 26 edited books dealing with the interface between neurology and
psychiatry, especially in the field of epilepsy and its treatment. I have published over 120
peer reviewed publications on similar topics and many other non-peer-reviewed
contributions to books and scientific journals. I am a reviewer for many neurological and f

psychiatric journals and on the editorial board of amongst others Epilepsy and Behavior.
SUMMARY OF OPINION

There are scientifically validated data in the peer-reviewed scientific literature
demonstrating the following propositions, which have gained general acceptance in the
community of scientific researchers familiar with the neurobehavioral effects of

antiepileptic drugs:

 
 

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First, there are peer-reviewed papers that show a link between GABA and
depression in psychiatric patients, and the data from studies in epilepsy confirm the link
between GABA-altering drugs and adverse effects on mood. Gabapentin and other
' antiepileptic drugs (AED’s) have been demonstrated to have negative effects on mood.
These include predictable alteration in mood including impulsivity, aggression, emotional
lability, anxiety and depression. The antiepileptic drugs that have been shown to have the
greatest negative effect on mood are those affecting GABA-mediated neural systems
(referred to as GABAergic) and which reduce the release of monoamines, especially
serotonin. Gabapentin affects GABA, which in turn reduces the release of mood regulating
monoamines, especially serotonin. Gabapentin is GABAergic. Second, gabapentin binds
to an auxiliary protein of voltage-gated calcium channels, the alpha-2-delta protein, which
reduces the release reduces the release of mood regulating monoamines such as serotonin
and norepinephrine ({NA)..

The scientific literature and the internal corporate documents made available to me
show that gabapentin has an effect on GABA, increasing GABA in the brain in some f
species, including humans. Gabapentin also decreases the release of two key
neurotransmitters involved in the regulation of mood, namely serotonin and
norepinephrine (NA). The decrease in the functional activity of serotonin and
norepinephrine caused by decreased release results clinically in depression, anxiety,
panic, irritable mood, dysphoria, anger, agitation, hostility, impulsivity. It is also known
in the scientific community that suicidality is associated with decreased serotonin
production. When gabapentin is prescribed to an individual who has a prior history of

mood disorders or has a current mood disorder, the GABAergic effect and/or the results of

its action at the alpha-2-delta protein precipitates suicidal behavior by leading to anxiety,
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panic, irritable mood, emotional lability, dysphoria, anger, agitation, hostility, and
impulsivity.

Accordingly, patients taking gabapentin are at risk to develop mood instability and
affective disorders that may predictably result in suicidal behavior; in particular, patients
who have a prior personal history of mood disorders are at greater risk with gabapentin.
Although it would be unethical for outcomes research to be done with suicide as an
endpoint, there are scientific data in the peer-reviewed literature that substantiate that
patients who are depressed or who are aggressive are at increased risk for suicide and
related suicidal behaviors. Prescribing of drugs with the profile of gabapentin to
vulnerable patients with a past history of mood disorder or impulsive aggressivity or with
a current mood disorder should be undertaken only after a complete psychiatric

anamnesis, and with a risk assessment with regards to the potential for suicide.

NEUROCHEMICAL CONSIDERATIONS 7 /

First of all, some explanation of the workings of the brain’s biochemistry is relevant.
Neurotransmitters are brain derived chemicals which are central to the brain’s signaling
mechanisms. They are manufactured in the brain’s cells (neurons mainly but not
exclusively), and secreted at the nerve terminals of so-called presynaptic cells, to flow
across a small gap, the synapse, to influence the postsynaptic cell. They achieve the latter
by interacting with receptors on the surface of the postsynaptic cell mainly but not
exclusively at the synapse.

Two main types of postsynaptic response are described. The neurotransmitter

binding to the receptor either opens up the postsynaptic cell membrane to allow the flow
 

 

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of ions such as chioride or sodium to change (ionotropic), or the interaction of the
transmitter and receptor alters the interior metabolism of the cell by inducing so-called
second messengers (metabotropic). Through these changes in cellular activity the
sensitivity, and hence firing rate of the post-synaptic neuron is influenced.

Although neuroscientists have discovered many chemicals within the brain that are
putative transmitters, a few have been identified which have profound effects on behavior,
and these have been the main targets for drugs that alter behavior in one way or another.
The transmitters are acetycholine (especially related to attention and memory), dopamine
(especially related to motivation and movement}, serotonin (especially related to
depression and aggression), nonepinephrine (NA) (related to movement and depression)
and GABA (related to inhibition).

The receptors for these transmitters are not homogenous, and several are described
for each transmitter. In some circumstances the different receptors are found at different —
locations in the brain, while some neurons express more than one receptor type for the
same transmitter. Pre-synaptic receptors are found on the nerve terfninal and help
regulate the release of the neurotransmitter from the terminal. Many different receptor
types have been identified, and any one neurotransmitter can exert an effect at several
receptors. For example, for serotonin and GABA, a number of different receptors have
been defined (SHT1A, SHT1B etc, or GABAa, GABAs). The receptor distribution in the
brain (CNS) differs from species to species.

In general neuroscientists refer to two classes of transmitter, those which are
excitatory and those which are inhibitory. The former include dopamine and glutamate,
the latter includes GABA. In a simple way, for example in epilepsy where there is a lack of

CNS inhibition in some areas, or alternatively an increase in excitation, a therapeutic

 
